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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION


ERICH HALBERT, et al.,                      )
                                            )
          Plaintiffs,                       )
v.                                          )
                                            )     Civil Action Number
CREDIT SUISSE AG, et al.,                   )     2:18-cv-00615-AKK
                                            )
          Defendants.                       )
                                            )


                        MEMORANDUM OPINION AND ORDER

          Erich, Sherri, and John Halbert (“the Halberts”) bring this action against

Credit Suisse AG and Janus Index & Calculation Services, LLC (“JICS”) alleging

federal and state securities violations and tortious conduct. Docs. 1; 45. The

Defendants have jointly moved to transfer venue to the S.D.N.Y. under 28 U.S.C.

§ 1404(a) or, alternatively, to stay the action pending the resolution of similar cases

in the S.D.N.Y. under the first-filed rule. Doc. 23. The motion, which is fully

briefed and ripe for review, id.; docs. 24, 30, 31, is due to be denied.

     I.      SUMMARY OF FACTS AND PROCEDURAL HISTORY

          The Halberts allege that they suffered significant losses after investing in

Credit Suisse’s VelocityShares Daily Inverse VIX Short Term exchange traded

notes (“XIV ETNs”) due to a precipitous drop in the securities’ value on February


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5, 2018. Doc. 45 at 1-2. According to the Halberts, Credit Suisse and JICS caused

them to suffer these losses by manipulating and failing to disclose the published

estimates of the XIV’s value on and before February 5, 2018. Id. ¶¶ 41-42.

Allegedly, Credit Suisse intentionally issued false and misleading offering

documents in connection with the XIV ETNs, failed to disclose that it was

engaging in activities that inflated their value, failed to update the estimated value

of the XIV while its value was dropping, and then ended trading on the XIV in

order to realize a profit at investors’ expense. Id. ¶¶ 8-49. Based on these

contentions, the Halberts assert claims against Credit Suisse and JICS for alleged

violations of § 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5

promulgated thereunder, 17 C.F.R. § 240.10b-5, as well as common law claims of

negligence, wantonness, fraudulent misrepresentation, negligent misrepresentation,

and fraudulent suppression, and assert claims for alleged breach of contract and

violations of § 11 of the Securities Act, 15 U.S.C. § 77k, and the Alabama Blue

Sky Law, Ala. Code § 8-6-19(a)(2), solely against Credit Suisse. Docs. 1; 45.

      Relevant to the pending motion, in addition to the Halberts’ lawsuit, other

investors filed three putative class actions against Credit Suisse AG, JICS, and six

other defendants in the S.D.N.Y. to recover for their losses from the collapse of

Credit Suisse’s XIV on behalf of themselves and other investors, including the

Halberts. See Chahal v. Credit Suisse Group AG et al., No. 1:18-cv-2268-AT-SN


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(S.D.N.Y. Mar. 14, 2018), ECF Nos. 1, 74; Eisenberg v. Credit Suisse Group AG

et al., No. 1:18-cv-2319-AT-SN (S.D.N.Y. Mar. 15, 2018); Qiu v. Credit Suisse

Group AG et al., No. 1:18-cv-4045-AT-SN (S.D.N.Y. May 4, 2018). These actions

were subsequently consolidated by Magistrate Judge Sarah Netburn, and the

plaintiffs have filed a consolidated amended complaint alleging violations of the

Securities and Exchange Acts. See Set Capital LLC et al. v. Credit Suisse Group

AG, No. 1:18-cv-2268-AT-SN (S.D.N.Y. Aug. 20, 2018), ECF No. 82 (hereinafter

“the New York action”). The defendants in the New York action have moved to

dismiss, id., ECF. Nos. 100, 101, 105, and, to date, the court has not certified a

class.

   II.      ANALYSIS

         The Defendants raise two points in their pending motion. First, they contend

that the balance of factors under 28 U.S.C. § 1404(a) favor a transfer to the

S.D.N.Y. Alternatively, they contend that the court should stay this case pending

resolution of the New York action based on the first-filed rule. The court addresses

each of these contentions in turn.

            A. Transfer of Venue Under 28 U.S.C. § 1404(a)

         Section 1404(a) allows a district court, “[f]or the convenience of parties and

witnesses, in the interest of justice,” to “transfer any civil action to any other

district . . . where it might have been brought . . . .” 28 U.S.C. § 1404(a). It is


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undisputed that venue would be proper in the S.D.N.Y.: the alleged violations of

federal securities laws occurred in this district, Credit Suisse AG resides in this

district, and a substantial part of the events or omissions giving rise to the claims

occurred in this district. See docs. 45, 24-2; 15 U.S.C. § 77v (any civil action under

the Securities Act “may be brought in the district wherein the defendant is found or

is an inhabitant or transacts business, or in the district where the offer or sale took

place, if the defendant participated therein”); 15 U.S.C.A. § 78aa (any civil action

under the Exchange Act “may be brought in the district wherein any act or

transaction constituting the violation occurred . . . or in the district wherein the

defendant is found or is an inhabitant or transacts business”); 28 U.S.C. §

1391(b)(2) (venue is proper in any “judicial district in which a substantial part of

the events or omissions giving rise to the claim occurred”). Therefore, the only

issue is whether the Defendants have met their burden of showing that the balance

of § 1404(a) factors justifies a transfer in this case. 1 As explained below, the

Defendants have failed to meet this burden.



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          The court must weigh the following factors in reaching this determination:

               (1) the convenience of the witnesses; (2) the location of relevant
               documents and the relative ease of access to sources of proof; (3) the
               convenience of the parties; (4) the locus of operative facts; (5) the
               availability of process to compel the attendance of unwilling
               witnesses; (6) the relative means of the parties; (7) a forum's
               familiarity with the governing law; (8) the weight accorded a
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             1. Factors Supporting Transfer

       Only three of the relevant factors affirmatively favor transfer: the

convenience of the witnesses, the availability of process to compel the attendance

of unwilling witnesses, and the location of relevant documents and relative ease of

access to sources of proof. More specifically, most of the potential witnesses

concerning the allegedly illegal conduct appear to be located either in New York or

Darien, Connecticut, see docs. 24-1 ¶¶ 4-6; 24-2 ¶¶ 5-10, and it seems the only

potential witnesses in Alabama are the Halberts, see docs. 45; 24-1 ¶¶ 7-9; 24-2 ¶

5. Likewise, as the Defendants note, the location of potential witnesses, which also

includes Colorado, likely places them beyond the reach of this court’s subpoena

power. See docs. 24 at 8; 24-1 ¶¶ 9-10; 24-2; Fed. R. Civ. P. 45(c). Furthermore,

because the offering documents at issue were prepared in New York, Credit

Suisse’s only U.S. branch is in New York, and JICS’s principal place of business is

Darien, Connecticut, the location of relevant documents and access to sources of

proof also appears to favor transfer. See docs. 24-1 ¶¶ 4, 6; 24-2 ¶¶ 5-10.

      Nevertheless, the circumstances of this case mitigate the weight of these

factors. For instance, the significance of the convenience of witnesses factor is

diminished where, as here, most of the potential witnesses, “although in another

             plaintiff's choice of forum; and (9) trial efficiency and the interests of
             justice, based on the totality of the circumstances.

Manuel v. Convergys Corp., 430 F.3d 1132, 1135 n.1 (11th Cir. 2005).
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district, are employees of a party and their presence at trial can be obtained by that

party.” See Trinity Christian Ctr. of Santa Ana, Inc. v. New Frontier Media, Inc.,

761 F. Supp. 2d 1322, 1328–29 (M.D. Fla. 2010) (citation omitted). Furthermore,

because the Halberts are willing to travel to New York, Connecticut, and Colorado

to depose the Defendants’ employees, see doc. 30 at 11, the convenience of the

witnesses does not weigh heavily in favor of transfer. Similarly, the availability of

process is of less significance here, where there is no indication the potential

witnesses would be unwilling to appear. See F.D.I.C. ex rel. Citizens State Bank v.

Fedorov, No. 10-20912-Civ., 2011 WL 2110830 (S.D. Fla. May 26, 2011) (finding

this factor did not support transfer where “[n]either of the parties has identified any

specific witness who would be unwilling to appear and may require the court’s

subpoena power.”). Finally, although many of the relevant documents and other

evidence are located in or around New York, this factor is less significant in the

absence of any contention by the Defendants that they face substantial difficulty in

producing relevant documents and given “the predominance of electronic

discovery in the modern era.” Weintraub v. Advanced Correctional Healthcare,

Inc., 161 F. Supp. 3d 1272, 1283 (N.D. Ga. 2015); see Steifel Labs., Inc. v.

Galderma Labs., Inc., 588 F. Supp. 2d 1336, 1340 (S.D. Fla. 2008) (“Defendant

has not demonstrated that there is any particular difficulty in producing the

materials or relevant documents . . .”).


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             2. Neutral Factors and Factors Militating Against Transfer

      By contrast, the remaining factors are either neutral or militate against

transfer. To begin, “[t]he plaintiff’s choice of forum should not be disturbed unless

it is clearly outweighed by other considerations,” Robinson v. Giarmarco & Bill,

P.C., 74 F.3d 253, 261 (11th Cir. 1996) (quoting Howell v. Tanner, 650 F.3d 610,

616 (5th Cir. 1981)), and this choice receives “greater deference when the plaintiff

has chosen the home forum,” as the plaintiffs have done in this case, see Piper

Aircraft Co. v. Reyno, 454 U.S. 235, 266 (1981) (citation omitted). Next, the

presence of six state common law claims and a claim for violations of Alabama’s

Blue Sky Law, doc. 45 ¶¶ 67-90, also supports greater deference to the Halberts’

choice of forum and disfavors transfer. See Trafalgar Capital Specialized Inv.

Fund (in Liquidation) v. Hartman, 878 F. Supp. 2d 1274, 1290 (S.D. Fla. 2012)

(“[W]here there are state law claims, the forum’s familiarity with the governing

law supports retention of the action.” (citation and quotation marks omitted)).

      Moreover, there is “no single locus of the operative facts” in this case. See

Gubarev v. Buzzfeed, Inc., 253 F. Supp. 3d 1149, 1166 (S.D. Fla. 2017) (citation

omitted). Indeed, no single federal district qualifies “as the place where events and

actors material to proving liability are located.” Id. at 1165-66 (citation omitted).

Instead, (1) the trading and sales decisions for the alleged securities violations were

made by Credit Suisse personnel “located in or around New York,” (2) the


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allegedly fraudulent offering documents and pricing supplement were prepared in

New York, (3) substantially all of JICS’s employees involved in calculating and

updating the XIV ETNs’ indicative values were located in Darien, Connecticut,

and (4) the Halberts purchased the XIV ETNs, which were available to investors

nationwide, in Alabama. Docs. 24-1 ¶¶ 5, 6; 24-2 ¶¶ 6-8; 45 ¶ 46. In other words,

“this factor is neutral and does not support a transfer.” Gubarev, 253 F. Supp. 3d at

1166 (citation omitted).

      The relative means of the parties is also a neutral factor here, where there is

no evidence concerning the parties’ financial positions. See DocRX, Inc. v. DOX

Consulting, LLC, 738 F. Supp. 2d 1234, 1256 n.20 (S.D. Ala. 2010) (finding that

this factor “appears to be a wash” where the defendants provided no evidence of

their own financial positions or the plaintiff’s). And, critically, either forum would

prove inconvenient for one party—this district is inconvenient for the Defendants,

see docs. 24-1, 24-2, and the S.D.N.Y. would prove similarly inconvenient for the

Halberts. “[W]hen a transfer of venue would merely shift the inconvenience from

the defendant to the plaintiff, the plaintiff's choice of forum should not be

disturbed.” Trinity Christian Ctr. of Santa Ana, Inc. v. New Frontier Media, Inc.,

761 F. Supp. 2d 1322, 1328–29 (M.D. Fla. 2010). Finally, in light of all of the

circumstances in this case, trial efficiency and the interests of justice counsel

against transfer.


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      Therefore, because the Plaintiffs have chosen their home forum, and the

Defendants have not shown that the interests of convenience so heavily favor the

S.D.N.Y. as to override the Plaintiffs’ choice, see Robinson, 74 F.3d at 261, the

motion to transfer is due to be denied.

          B. The First-Filed Rule

      The Defendants also move in the alternative for a stay under the first-filed

rule. “The first-filed rule provides that when parties have instituted competing or

parallel litigation in separate courts, the court initially seized of the controversy

should hear the case.” Collegiate Licensing Co. v. Am. Cas. Co. of Reading, Pa.,

713 F.3d 71, 78 (11th Cir. 2013) (citation omitted). This rule “not only determines

which court may decide the merits of substantially similar cases, but also generally

establishes which court may decide whether the second filed suit must be

dismissed, stayed, or transferred and consolidated.” Id. To determine whether the

first-filed rule applies, courts may consider: “(1) the chronology of the actions; (2)

the similarity of the parties involved; and (3) the similarity of the issues at stake.”

Goldsby v. Ash, No. 2:09-CV-975-TFM, 2010 WL 1658703, at *2 (M.D. Ala. Apr.

22, 2010) (quoting Fuller v. Abercrombie & Fitch Stores, Inc., 370 F. Supp. 2d

686, 688 (E.D. Tenn. 2005)). Importantly, courts apply this rule in order “to avoid

the waste of duplication, to avoid rulings which may trench upon the authority of

sister courts, and to avoid piecemeal resolution of issues that call for a uniform


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result.” W. Gulf Mar. Ass’n v. ILA Deep Sea Local 24, S. Atl. & Gulf Coast Dist. of

ILA, AFL-CIO, 751 F.2d 721, 729 (5th Cir. 1985).

      It is undisputed that the consolidated New York cases were filed prior to this

action. See Chahal v. Credit Suisse Group AG et al., No. 1:18-cv-2268-AT-SN

(S.D.N.Y. Mar. 14, 2018), ECF Nos. 1, 74; Eisenberg v. Credit Suisse Group AG

et al., No. 1:18-cv-2319-AT-SN (S.D.N.Y. Mar. 15, 2018), ECF No. 1; Qiu v.

Credit Suisse Group AG et al., No. 1:18-cv-4045-AT-SN (S.D.N.Y. May 4, 2018),

ECF No. 1. There are also overlapping issues between the New York action and

the present case: for instance, both actions assert claims arising under federal

securities laws based on alleged misrepresentations in the XIV ETNs’ offering

documents and alleged losses from declines in value that occurred on February 5,

2018. Compare Doc. 45 ¶¶ 16-49, 53, 64 with Set Capital LLC et al. v. Credit

Suisse Group AG, No. 1:18-cv-2268-AT-SN (S.D.N.Y. Aug. 20, 2018), ECF No.

82 ¶¶ 215-228, 271, 274. Indeed, the Halberts’ Amended Complaint expressly

incorporates by reference nearly all of the factual allegations from the consolidated

New York action. See doc. 45 at 2 n.1 (incorporating the allegations in paragraphs

1-19 and 50-269 of the amended complaint in the New York action).

      However, “[a] first-filed analysis looks to the character of the suits and the

parties to the suits, not simply to the similarity of issues without regard to the

identity of the parties asserting them and their asserted rights as presented in the


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initial lawsuit.” Collegiate Licensing Co., 713 F.3d at 79. Although the actions

share two overlapping defendants—Credit Suisse AG and JICS—the plaintiffs

differ: in this case, the Halberts sue as individuals, whereas the plaintiffs in the

New York action seek to represent a class of similarly situated individuals. Even

though the putative class in the New York action includes the Halberts, in the

absence of certification under Federal Rule 23, the court cannot conclude

reasonably that the plaintiffs in the two cases share an identity. See Smith v. Bayer

Corp., 564 U.S. 299, 315 (2011) (“Neither a proposed class action nor a rejected

class action may bind nonparties. What does have this effect is a class action

approved under Rule 23.”). Applying the first-filed rule at this juncture would not

avoid duplicative litigation or “piecemeal resolution of issues that call for a

uniform result.” See W. Gulf Mar. Ass’n, 751 F.2d at 729; Barnett v. Alabama, 171

F. Supp. 2d 1292, 1296 (S.D. Ala. 2001) (“A principal concern behind the ‘first

filed’ rule . . . is preventing duplication of effort and incompatible rulings.”).

Moreover, if the court in New York ultimately decides against certifying a class,

granting a stay in this case would end up causing an unnecessary delay of this

case’s resolution. And, even if the class is certified, the Halberts may decide to opt

out and proceed with their own claims individually, see Fed. R. Civ. P.

23(c)(2)(B), further undermining the contention that the conservation of judicial

resources justifies granting the stay. Finally, because the Halberts assert seven


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claims under Alabama law that are distinct from the New York action, disposition

of the New York case on its merits would not necessarily resolve the state law

issues in the present case. Thus, the first-filed rule is inapplicable here, where the

parties and issues do not sufficiently overlap to justify its application.

                           CONCLUSION AND ORDER

      For the foregoing reasons, the court finds that neither a transfer of venue nor

a stay of the proceedings is warranted in this case. The balance of factors under 28

U.S.C. §1404(a) does not favor transfer and the first-filed rule does not apply

because this case is not sufficiently similar to the New York action. Accordingly,

the Defendants’ motion to transfer or stay, doc. 23, is DENIED.

      DONE the 15th day of December, 2018.



                                         _________________________________
                                                  ABDUL K. KALLON
                                           UNITED STATES DISTRICT JUDGE




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